                            Case MDL No.
                            BEFORE    THE3076UNITED
                                              DocumentSTATES
                                                       19 Filed 03/03/23
                                                                JUDICIAL PagePANEL
                                                                              1 of 2
                                               ON MULTIDISTRICT LITIGATION
        3076 & Title - IN RE: ____________________________________________________
MDL No. ______                FTX CRYPTOCURRENCY EXCHANGE COLLAPSE LITIGATION


                                                           NOTICE OF APPEARANCE
                                      (Appearances should only be entered in compliance with Rule 4.1(c).


PARTIES REPRESENTED (indicate plaintiff or defendant (i.e. Plaintiff Bob Jones)–If representation
includes more than one party, attach a separate list.)

    Defendants as listed on attached Schedule.

SHORT CASE CAPTION(s) (Include District and Civil Action No. (i.e. Jones v. Smith Corp., et al., D.
Delaware, 1:14-586)–If party representation includes more than one case, attach a schedule of actions)
NOTE: Include only actions in which you are entering an Appearance.

        See attached Schedule.


        In compliance with Rule 4.1(c), R.P.J.P.M.L., 199 F.R.D. 425, 431 (2001), the following designated
attorney is authorized to receive service of all pleadings, notices, orders, and other papers relating to practice before
the United States Judicial Panel on Multidistrict Litigation on behalf of the plaintiff(s)/ defendant(s) indicated. I am
aware that only one attorney can be designated for each party.

             March 3 2023                           /s/ Andrew Clubok
            _____________________________________________________________________________
                                       Date                                           Signature of Attorney or Designee

                                                                                      Andrew Clubok, LATHAM & WATKINS LLP
Name and Address of Designated Attorney:@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                                                                      555 Eleventh Street, NW, Suite 1000
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                                (202) 637-2200                                                     (202) 637-2201
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                andrew.clubok@lw.com
Email Address: _________________________

Instructions:


1. From the JPML home page, download Notice of Appearance. Fill out form and save in .pdf format. (All documents filed with the Judicial Panel must be in PDF Format.)
The Appearance Form is to be filed as the main PDF document. Any documents submitted with the Appearance Form are attachments.
2. Select MDL from the menu bar at the top of the ECF screen.
3. Click on Notices. Select the appropriate Notice of Appearance. Select Next.
4. Enter the three or four digit MDL number (ex. 875). Select Next.
5. Verify MDL number, if correct Select Next.
6. Choose the case(s) for which the Appearance is being filed. Select Next.
7. Select Party. Select next twice.
8. Upload the Appearance Form as the Main document and all other documents as attachments. Be sure to choose a category and description. Select the document to which
the Appearance relates. (N ote: Appearances filed in new litigations will be linked to the initial Motion for Transfer and Appearances filed in transferred litigations should be
linked to the Conditional Transfer Order (CTO).
9. Select the next button and verify docket text. If correct continue to select next to complete the transaction.
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                               BEFORE THE UNITED STATES JUDICIAL PANEL
                                  ON MULTIDISTRICT LITIGATION


    IN RE: FTX CRYPTOCURRENCY                        MDL NO. 3076
    EXCHANGE COLLAPSE LITIGATION



                                  NOTICE OF APPEARANCE

                                   SCHEDULE OF ACTIONS



            Caption              Defendants        District     Civil           Judge
                                Represented by                Action No.
                                  Appearing
                                  Attorney

1    Edwin Garrison, ,et al.   Thomas Brady,      S.D.        1:22-cv-     Judge K. Michael
     v. Samuel Bankman-        Gisele Bundchen,   Florida     23753        Moore;
     Fried, et. al.            Lawrence Gene                               Magistrate Judge
                               David                                       Jacqueline
                                                                           Becerra

2    Michael Norris, et al.    Thomas Brady       S.D.        1:23-cv-     Judge K. Michael
     v. Thomas Brady, et                          Florida     20439        Moore;
     al.                                                                   Magistrate Judge
                                                                           Eduardo I
                                                                           Sanchez
